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               Exhibit 6
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From:            Kathryn Guyton
To:              Blair, Aaron (NIH/NCI) [V]
Subject:         Re: IARC Monograph vol 112- peer review assignments
Date:            Friday, January 09, 2015 8:31:45 AM



Hi Aaron,

Feel free to provide via email a mark-up of the Word file (to me for forwarding, or to the
section author cc: me). This is often the easiest way to communicate your suggested
revisions.

Thanks,
Kate

From: <Blair>, "Aaron [V] (NIH/NCI)" <blaira@exchange.nih.gov>
Date: Friday 9 January 2015 14:28
To: Kate Guyton <guytonk@iarc.fr>
Subject: RE: IARC Monograph vol 112- peer review assignments

Kate,

Is there anyway to submit comments directly on the draft from someone else that I am
reviewing.  That is easier to indicate issues and concerns.  I will also complete the review
forms provided.



Aaron
________________________________
From: Kathryn Guyton [GuytonK@iarc.fr]
Sent: Friday, December 12, 2014 11:13 AM
To: Mannetje, Andrea; Blair, Aaron (NIH/NCI) [V]; Forastiere, Francesco; Isabelle Baldi; John
McLaughlin
Cc: Dana Loomis
Subject: IARC Monograph vol 112- peer review assignments

Dear all,

Many, many thanks for your excellent contributions thus far to Monograph volume 112!

We are now proceeding to the peer review stage.  Please access IOPS
(http://iops.iarc.fr<http://iops.iarc.fr/>) to see your peer review assignments.  All of your peer
review assignments are posted on IOPS EXCEPT Francesco Forastiere's (I will notify you
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separately when ready, Francesco).  Peer reviews are due no later than 13 January 2015.

Please remember to include in your review the relevant tables in the Table Builder; comments
should be noted on the peer review form or in the comments box on IOPS.

Don’t hesitate with any questions.
Best regards,
Kate
Kate Z. Guyton PhD DABT
Responsible Officer, Volume 112
Monographs Section
International Agency for Research on Cancer
150, cours Albert Thomas
69372 Lyon Cedex 08
France
Tel: [+33] (0)4 72 73 86 54
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